Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 1 of 72




                   EXHIB I T 3
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 2 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 3 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 4 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 5 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 6 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 7 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 8 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 9 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 10 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 11 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 12 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 13 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 14 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 15 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 16 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 17 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 18 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 19 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 20 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 21 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 22 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 23 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 24 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 25 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 26 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 27 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 28 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 29 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 30 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 31 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 32 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 33 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 34 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 35 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 36 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 37 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 38 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 39 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 40 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 41 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 42 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 43 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 44 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 45 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 46 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 47 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 48 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 49 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 50 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 51 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 52 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 53 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 54 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 55 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 56 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 57 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 58 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 59 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 60 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 61 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 62 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 63 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 64 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 65 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 66 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 67 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 68 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 69 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 70 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 71 of 72
Case 1:01-cv-12257-PBS Document 6208-4 Filed 06/29/09 Page 72 of 72
